Case 1:18-cr-00204-NGG-VMS Document 1080 Filed 07/26/21 Page 1 of 1 PageID #: 20207




   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK
   ----------------------------------------------------------------------X
   UNITED STATES OF AMERICA

                    -v.-                                                      18 CR 204 (NGG)

   KEITH RANIERE,

                                                Defendant.
   ----------------------------------------------------------------------X

                                            NOTICE OF APPEAL

           PLEASE TAKE NOTICE that Keith Raniere appeals this Court’s

   supplemental sentencing order, issued Jul. 20, 2021, amending the judgment in this

   case to include a restitution award of approximately $3.46 million.

   Dated:           New York, NY
                    Jul. 26, 2021



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